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           EXHIBIT B
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From:             Friedman, Daniel (Assoc-NY-LT)
To:               "Norman, Donna K."; "Thompson, Duane"; "Carlson, James"
Cc:               Kehoe, Greg (Shld-TPA-LT); "Van Vliet, Theresa"
Subject:          SEC v. Rashid, No. 17-cv-8223
Date:             Wednesday, December 26, 2018 6:38:33 PM
Attachments:      2018 12 26 Rashid"s Contention Interrogatories to the SEC.PDF


Counsel,

Attached please find copies of Defendant Mohammed Ali Rashid’s Contention Interrogatories.

Thanks,
Daniel


Daniel Friedman
Associate

Greenberg Traurig, LLP
MetLife Building | 200 Park Avenue | New York, NY 10166
T +1 212.801.6788
friedmand@gtlaw.com | www.gtlaw.com | View GT Biography
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------   X
 SECURITIES AND EXCHANGE                                               :
 COMMISSION,                                                           :
                                                                       :
                                     Plaintiff,                        :   No. 17-cv-8223 (PKC)
                                                                       :
                                                                       :
                    -v-                                                :
                                                                       :
                                                                       :
 MOHAMMED ALI RASHID,                                                  :
                                                                       :
                                     Defendant.                        :
 -------------------------------------------------------------------   X

  DEFENDANT MOHAMMED ALI RASHID’S CONTENTION INTERROGATORIES
        TO PLAINTIFF SECURITIES AND EXCHANGE COMMISSION

        Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure and Local Civil Rule

33.3(c) of the United States District Court for the Southern District of New York, Defendant

Mohammed Ali Rashid (“Mr. Rashid” or “Defendant”) hereby requests that Plaintiff Securities

and Exchange Commission (“SEC” or “Plaintiff”) answer each of the contention interrogatories

set forth below and deliver those answers to the Mr. Rashid’s undersigned counsel at the offices

of Greenberg Traurig, LLP, 200 Park Avenue, New York, NY 10166, within 30 days of service.

The following definitions and instructions shall apply:

                                                DEFINITIONS

        The definitions set forth in Local Rule 26.3 are incorporated in these Interrogatories by

reference. The following additional terms shall have the following meanings and rules of

construction, unless the context requires otherwise. Nothing set forth below is intended to narrow

the scope of discovery permitted by the Federal Rules of Civil Procedure and Local Civil Rule

26.3, and the definitions and Interrogatories should be read as broadly as permitted by those rules.
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       1.      “Apollo” shall mean Apollo Global Management, LLC, including, but not limited

to, its subsidiary Apollo Management, L.P. and any or all of the Affiliated Fund Managers, as that

term is defined below.

       2.      “Affiliated Funds” shall mean Apollo Management III, L.P., Apollo Management

V, L.P., Apollo Management VI, L.P., Apollo Management VII, L.P., and Apollo Commodities

Management, L.P., both collectively and individually.

       3.      “Statute of Limitations Period” shall mean June 13, 2011, through the present.

                                       INSTRUCTIONS

       1.      These Interrogatories are continuing and require you to promptly supplement your

answers if you withdraw, modify or supplement your answers in any respect after the date of your

initial answers.

                           CONTENTION INTERROGATORIES

   9. What is your contention as to the amount that Mr. Rashid misappropriated, as that term is
      used in Paragraph 1 of the Complaint? Indicate any documents that support your
      contention.

   10. What is your contention as to the amount that Mr. Rashid misappropriated, as that term is
       used in Paragraph 1 of the Complaint, within the Statute of Limitations Period? Indicate
       any documents that support your contention.

   11. What is your contention as to the amount of personal expenses that Mr. Rashid
       misappropriated by claiming them as business expenses, as those terms are used in
       Paragraph 3 of the Complaint, as opposed to any other alleged misappropriation (such as
       exceeding Apollo’s policy limits)? Indicate any documents that support that contention.

   12. What is your contention as to the amount of personal expenses that Rashid misappropriated
       by claiming them as business expenses, as those terms are used in Paragraph 3 of the
       Complaint, as opposed to any other alleged misappropriation (such as exceeding Apollo’s
       policy limits), within the Statute of Limitations Period? Indicate any documents that
       support that contention.

   13. What is your contention as to Mr. Rashid’s role in allocating expenses to the Apollo Funds?
       Indicate any documents or testimony that support your contention.




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14. Do you contend that Mr. Rashid had a fiduciary obligation to know, understand, and adhere
    to Apollo’s travel & expense reimbursement policies and procedures? Indicate any
    documents or testimony that support your contention.

15. What is your contention as to why Mr. Rashid “knew, or was reckless in not knowing, that
    the Relevant Funds would be charged for any expense that he allocated to a Relevant
    Fund,” as stated in Paragraph 46 of the Complaint? Indicate any documents or testimony
    that support your contention.

16. Do you contend that any of the Apollo Funds or the Relevant Funds, as that term is used in
    the Complaint, have not been made whole by Mr. Rashid as a result of his expense reports?
    Indicate any documents that support your contention.

17. Do you contend that none of Mr. Rashid’s communications with Apollo were made in
    connection with a compromise offer or negotiation under Fed. R. Evid. 408? If not, when
    do you contend that settlement negotiations began? Indicate any documents that support
    your contention.

18. State your contention as to the amounts that Mr. Rashid allegedly misappropriated, as that
    term is used in Paragraph 1 of the Complaint, within the Statute of Limitations Period, from
    each of (a) Apollo Management III, L.P.; (b) Apollo Management V, L.P.; (c) Apollo
    Management VI, L.P.; (d) Apollo Management VII, L.P.; and (e) Apollo Commodities
    Management, L.P. Indicate any documents that support your contention.

19. State your contention as to the amounts that Mr. Rashid allegedly misappropriated, as that
    term is used in Paragraph 1 of the Complaint, within the statute of limitations period, from
    each of (a) Apollo Management III, L.P.; (b) Apollo Management V, L.P.; (c) Apollo
    Management VI, L.P.; (d) Apollo Management VII, L.P.; and (e) Apollo Commodities
    Management, L.P with the statute of limitations period. Indicate any documents that
    support your contention.




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Dated: New York, New York           Respectfully submitted,
       December 26, 2018
                                    GREENBERG TRAURIG, LLP

                                    By:    /s/ Gregory W. Kehoe

                                    Gregory W. Kehoe
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                                    Attorneys for Defendant Mohammed Ali Rashid




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                               CERTIFICATE OF SERVICE

       I, Daniel Friedman, hereby certify that a true and correct copy of Defendant’s Contention

Interrogatories pursuant to Fed. R. Civ. P. 26 and 33 were served upon the following attorneys of

record by electronic mail on December 26, 2018:

       Duane K. Thompson
       Securities and Exchange Commission
       100 F Street, NE
       Washington, D.C. 20549
       ThompsonD@SEC.gov

       James M. Carlson
       Securities and Exchange Commission
       100 F Street, NE
       Washington, D.C. 20549
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       Attorneys for Plaintiff, Securities and Exchange Commission

/s/ Daniel Friedman
Daniel Friedman




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